
53 So.3d 381 (2011)
Rodney J. BODDICE, Appellant,
v.
STATE of Florida, Appellee.
No. 5D10-3480.
District Court of Appeal of Florida, Fifth District.
January 28, 2011.
Rodney J. Boddice, Bowling Green, pro se.
No Appearance for Appellee.
PER CURIAM.
Boddice appeals from the summary denial of his motion for post-conviction relief. We affirm as to each of the issues raised by Boddice, save one. In his motion, Boddice alleged that he did not receive sufficient jail credit for time served after his violation of probation arrest. The trial court failed to address this issue. On remand, it is directed to do so.
AFFIRMED, in part; REVERSED, in part; REMANDED.
GRIFFIN, EVANDER and JACOBUS, JJ., concur.
